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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                                                )                    Case No: 8:05CR187
                  Plaintiff,                    )
           v.                                   )                            ORDER
                                                )
STACY SCOTT,                                    )
                                                )
                  Defendant.


      The court has previously been presented a Financial Affidavit (CJA Form 23) signed by
     the defendant and the court at that time found the defendant eligible for appointment of
     counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal
     Justice Act Plan for the District of Nebraska. Because defendant's counsel is no longer
     a CJA panel attorney,

      IT IS ORDERED that Jessica Milburn is appointed as attorney of record for the
     defendant in this matter and shall forthwith file an appearance in this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
     provide counsel with a draft appointment order (CJA Form 20) bearing the name and
     other identifying information of the CJA Panel attorney identified in accordance with the
     Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that counsel’s appointment herein is made pursuant to 18
     U.S.C. § 3006A(f). At the time of the entry of an amended judgment herein, defendant
     shall file a current and complete financial statement to aid the court in determining
     whether any portion of counsel’s fees and expenses should be reimbursed by
     defendant.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
     Federal Public Defender for the District of Nebraska and Jessica Milburn.

      DATED this 25th day of April, 2006.

                                              BY THE COURT:


                                              s/ Joseph F. Bataillon
                                              United States District Judge
